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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

AMBER FERGUSON,

      Plaintiff,

v.                                                Case No. 6:19-cv-1264-RBD-LRH

WAYNE IVEY,

      Defendant.
____________________________________

                                     ORDER

      Before the Court are:

      1.     Defendant’s Case Dispositive Motion for Summary Judgment

             (Doc. 50 (“Motion”));

      2.     Plaintiff’s Response in Opposition to Defendant’s Motion for

             Summary Judgment (Doc. 51); and

      3.     Defendant’s Reply to Plaintiff’s Response in Opposition to

             Defendant’s Motion for Summary Judgment (Doc. 52).

On review, Defendant’s Motion is due to be granted.

                                BACKGROUND

      From 2009 until her termination in 2013, Plaintiff worked as a corrections

deputy in the Brevard County Jail for Defendant Wayne Ivey, in his capacity as

Sheriff of Brevard County. (Docs. 50-3, 51-10.)
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      In March 2013, Plaintiff told Defendant she was pregnant and due in

October. (Doc. 50-10; Doc. 51-1, ¶ 2.) She provided a note from her doctor stating

she had no work restrictions. (Doc. 50-10; Doc. 51-1, ¶ 2.) At that time, Plaintiff

asked to be assigned to the control room of the jail, which had no contact with

inmates. (Doc. 51-1, ¶¶ 3–4.)

      The control room is not a full-time position for a normal duty corrections

deputy. (Doc. 51-2, pp. 17:24–18:10, 19:6–11, 21:17–18.) The primary function of

corrections deputies is to manage the inmates. (Doc. 50-4, pp. 14:5–8, 16:16–23.)

While deputies may be sporadically assigned to the control room if the jail is

understaffed, the control room is typically staffed by lower-paid corrections

technicians. (Doc. 51-2, pp. 17:24–18:10, 21:17–22:1; Doc. 52-1, ¶¶ 4, 5.)

      Nevertheless, from March 16 to May 10, 2013, Defendant assigned Plaintiff

to the control room at her request. (Doc. 50-11, pp. 1–28.) In May, while assigned

to the control room, Plaintiff asked Sergeant Brian Seeley whether she could stop

wearing her uniform as her pregnancy progressed. (Doc. 50-12.) Sgt. Seeley

emailed Lieutenant Ronald Tomblin to ask. (Id.)

      Until Sgt. Seeley’s email, Lt. Tomblin was unaware Plaintiff was pregnant.

(Doc. 50-13, ¶ 4.) Lt. Tomblin asked Sgt. Seeley whether Plaintiff had provided a

letter from her doctor with any work restrictions. (Id.) Sgt. Seeley responded that

Plaintiff’s doctor said she did not have any work restrictions, but he had assigned


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her to the control room. (Id. ¶ 5.) He reminded Sgt. Seeley of the terms of the

deputies’ new collective bargaining agreement, 1 which permits a pregnant

employee to work a light duty assignment with no loss in pay for the duration of

her pregnancy—but she must provide a note from her doctor saying she should

not continue working in the field. (Doc. 50-8, p. 3; Doc. 50-9, p. 5; Doc. 50-13, ¶ 6.)

So Lt. Tomblin told Sgt. Seeley to follow the bargaining agreement and assign

Plaintiff to normal duty until her doctor indicated she had restrictions. (Doc. 50-

13, ¶ 5.)

       Sgt. Seeley then assigned Plaintiff to normal duty in the infirmary, which

involved some contact with inmates. (Doc. 50-11, p. 29; see Doc. 50-13, ¶ 10.)

Plaintiff complained and asked to be transferred back to the control room, telling

her supervisors that she did not want to have direct contact with inmates or wear

her equipment belt. (Doc. 50-4, pp. 20:15–17, 21:21–23; Doc. 50-13, ¶ 9.) Plaintiff’s

supervisors told her that if she got a note, they would accommodate her, but if she

did not get a note, she would be assigned to normal duty. (Doc. 50-4, p. 46:18–22;

Doc. 50-14, p. 2.) But Plaintiff repeatedly told them she did not have restrictions

justifying light duty and did not provide a note saying she could not work her

normal duties. (Doc. 50-4, pp. 26:25–27:2, 30:6–9, 37:20–21, 43:6–8, 45:24–46:1,




       1Prior to 2012, the bargaining agreement did not specifically address light duty
assignments for pregnant employees. (Doc. 50-7, p. 18.)
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47:10–13, 48:16–17; Doc. 51-1, ¶¶ 8, 15.) Defendant briefly assigned Plaintiff to a

receptionist position with no inmate contact but told her she needed a note to

continue there; Plaintiff said she did not have a note and again asked to be

assigned to the control room instead, saying she was not light duty. (Doc. 50-1,

¶¶ 10–22; Doc. 50-4, pp. 48:6–50:8; Doc. 50-16, ¶¶ 2–6; Doc. 51-1, ¶ 15.)

      After this back-and-forth, on May 27, Plaintiff was briefly hospitalized with

pregnancy complications. (Doc. 51-1, ¶ 17.) On May 31, Plaintiff returned to work

and provided another doctor’s note verifying that she had no restrictions and was

able to return to work normal duty. (Id. ¶ 18; Doc. 50-17.) So in June, Defendant

again assigned Plaintiff to various normal duty positions. (Doc. 50-11, pp. 37–48.)

      On June 6, Plaintiff filed a charge of discrimination with the Equal

Employment Opportunity Commission (“EEOC”). (Doc. 50-25.) She filed a second

charge on June 17, complaining that Defendant denied her request to be assigned

to the control room. (Doc. 50-26.)

      Plaintiff then continued to work normal duty for about a month. (Doc. 50-

11, pp. 37–48.) On July 2, Plaintiff was again hospitalized due to pregnancy

complications, and she went on Family and Medical Leave Act (“FMLA”) leave.

(Doc. 50-4, p. 56:10–21; Doc. 50-11, pp. 37–48; Doc. 50-19.) On August 16, before

the baby was born and with her FMLA leave set to expire, Plaintiff requested

discretionary leave, which Defendant granted through October 30. (Doc. 50-19.)


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On August 24, Plaintiff’s child was born premature and placed in the NICU.

(Doc. 50-20; Doc. 36, ¶ 118.) On October 7, with her discretionary leave expiring

on October 30, Plaintiff requested and was granted additional discretionary leave

through November 30 to stay with her child. (Doc. 50-20.)

       Then on November 19, with the expiration date of her discretionary leave

again looming, Plaintiff asked for another extension—this time for a full additional

year of leave. (Doc. 50-21.) But Defendant’s leave policy states that “under no

circumstances will [leave] be authorized for a period of more than one year.”

(Doc. 50-23.) As Plaintiff had already used several months of discretionary leave,

Defendant denied her request for another year of leave and ordered her to return

to work on December 6. (Doc. 50-22.) Plaintiff did not return to work as directed,

and Defendant terminated her. (Doc. 50-24.)

       So Plaintiff sued, bringing three claims against Defendant that have

survived to this point: (1) pregnancy discrimination under Title VII of the

Civil Rights Act of 1964 (Count I); (2) retaliation under Title VII (Count II); and

(3) interference with her rights under the Americans with Disabilities Act (“ADA”)

(Count V). (Doc. 36, ¶¶ 132–48, 168–73.) 2 Defendant moved for summary

judgment on all three claims. (Doc. 50.) Plaintiff responded, and Defendant




       2 The Court dismissed Plaintiffs’ other ADA claims in Counts III and IV with prejudice.
(Doc. 43.)
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replied. (Docs. 51, 52.) So the matter is ripe.

                                       STANDARDS

      Summary judgment is appropriate only “if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment

as a matter of law.” Fed. R. Civ. P. 56(a). The Court must view the evidence and

all reasonable inferences drawn from the evidence in the light most favorable to

the non-movant. Battle v. Bd. of Regents, 468 F.3d 755, 759 (11th Cir. 2006). Then the

Court must decide whether there is “sufficient disagreement to require submission

to a jury.” Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256, 1260 (11th Cir. 2004)

(citation and internal quotation marks omitted).

                                        ANALYSIS

      I.       Pregnancy Discrimination

      Defendant first argues Plaintiff has not established her pregnancy

discrimination claim. (Doc. 50, pp. 10–21.)

      Title VII, as amended by the Pregnancy Discrimination Act, prohibits

discrimination on the basis of pregnancy. See Holland v. Gee, 677 F.3d 1047, 1054

(11th Cir. 2012) (citing 42 U.S.C. § 2000e). In cases involving circumstantial

evidence, such as this one, the Court applies the burden-shifting framework of

McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973). 3 See Holland, 677 F.3d at


      3   The Court uses the McDonnell Douglas framework here as Plaintiff relies on a single-
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1054.

        The plaintiff must first establish a prima facie case of discrimination,

meaning she must show she was: (1) a member of a protected class; (2) qualified;

(3) subjected to an adverse employment action; and (4) treated differently than

similarly situated employees outside of her protected class. Id. The burden then

“shifts to the employer to articulate a legitimate, nondiscriminatory reason for its

actions.” Id. (cleaned up). The burden then “shifts back to the plaintiff to

demonstrate that the proffered reason was not the true reason.” Id. (cleaned up).

        Two alleged adverse actions are at issue: Defendant’s denial of Plaintiff’s

request to be assigned to the control room and Plaintiff’s termination. 4 (Doc. 36,

¶ 135; Doc. 51, pp. 8–10.) The Court applies the burden-shifting framework to each

in turn.

              A.      Control Room Request

        As to the control room request, Defendant argues that Plaintiff cannot make

out her prima facie case because: (1) Defendant’s denial of Plaintiff’s request was

not an adverse employment action; and (2) Plaintiff has not identified a similarly

situated comparator. (Doc. 50, pp. 11–16.) The Court agrees on both counts.




motive pretext theory (see Doc. 51, p. 13), as opposed to a mixed-motive theory. See Quigg v.
Thomas Cnty. Sch. Dist., 814 F.3d 1227, 1235 (11th Cir. 2016).
       4 Plaintiff abandoned any other potentially adverse actions in her response to the Motion.

(See Doc. 51, pp. 8–10.)
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                       1.     Prima Facie Case – Adverse Employment Action

       First, Defendant’s denial of Plaintiff’s request to be assigned to the control

room was not an adverse employment action.

       As a general matter, actions are not adverse simply because they make an

employee unhappy. See Edwards v. Ambient Healthcare of Ga., Inc., 674 F. App'x 926,

930 (11th Cir. 2017); Higdon v. Jackson, 393 F.3d 1211, 1219 (11th Cir. 2004). And

shift assignment changes in particular are very rarely considered sufficiently

adverse actions—both because they do not typically rise to the level of materially

changing the terms of an employee’s employment and because they go to the heart

of an employer’s decision making. See Davis v. Town of Lake Park, 245 F.3d 1232,

1244–45 (11th Cir. 2001), overruled on other grounds by Burlington N. & Santa Fe Ry.

Co. v. White, 548 U.S. 53 (2006). An employer has no duty to provide

accommodations to people with no disabilities to justify them. 5 See Jeudy v. Att’y

Gen., 482 F. App’x 517, 521 (11th Cir. 2012); Swain v. Hillsborough Cnty. Sch. Bd., 146

F.3d 855, 858 (11th Cir. 1998).



       5  As the Court previously found, Plaintiff has not shown she was disabled. (Doc. 43, pp. 7–
9.) While she insists she had no pregnancy restrictions justifying accommodations, she admits
that she requested not to perform the essential functions of her job. (Doc. 50-4, pp. 14:5–8, 16:13–
17:4, 20:11–17, 21:21–22:3.) And she admits that she did not provide a light duty note, which was
required by her bargaining agreement if she could not do her job. (See Doc. 50-4, pp. 37:20–21,
43:6–8, 45:24–46:1, 47:10–13, 48:16–17.) With no disability, Defendant was not required to
accommodate her request not to perform certain parts of her job. See Jeudy, 482 F. App’x at 521.
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      By her own admission, Plaintiff did not have any pregnancy restrictions and

could do her job. (Doc. 50-4, pp. 37:20–21, 43:6–8, 45:24–46:1, 47:10–13, 48:16–17.)

Under these circumstances, no reasonable person could conclude that Defendant’s

assignment of Plaintiff to a normal duty position—when she insisted she could

work normal duty—seriously and materially altered the terms of Plaintiff’s

employment as a corrections officer. See Hinson v. Clinch Cnty. Bd. of Educ., 231 F.3d

821, 829 (11th Cir. 2000). So Plaintiff has not shown that the denial of her request

to be assigned to the control room is an adverse employment action. See Jeudy,

482 F. App’x at 521.

                    2.     Prima Facie Case – Similarly Situated Comparator

      Even if Plaintiff had shown that the denial of her control room request was

an adverse action, her prima facie case still fails because she cannot show a

similarly situated comparator.

      “A plaintiff proceeding under McDonnell Douglas must show that she and

her comparators are similarly situated in all material respects.” Lewis v. City of Union

City, 918 F.3d 1213, 1226 (11th Cir. 2019) (cleaned up) (emphasis added).

      The comparator Plaintiff offers for this action is Michael Perkins. (Doc. 51,

p. 10.) But Perkins was only tasked to the control room occasionally, not

permanently—in line with Defendant’s policy. (Doc. 51-2, pp. 17:24–18:10, 19:6–

11, 21:17–18; Doc. 52-1, ¶ 6.) And Plaintiff offers no evidence that Perkins sought


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 to be assigned to the control room long-term with no light duty note, like her. (See

 Doc. 51, p. 10.) So Perkins is not similarly situated in all material respects. See Lewis,

 918 F.3d at 1226. Without pointing to someone outside of Plaintiff’s class who

 asked to be and was assigned to the control room long-term without a doctor’s

 note, Plaintiff cannot establish she was treated less favorably due to

 discrimination.

       Because Plaintiff has failed to demonstrate that Defendant’s denial of her

 request to be assigned to the control room was an adverse employment action and

 that a similarly situated comparator was treated better, this portion of Plaintiff’s

 prima facie case fails.

              B.     Termination

       The other half of Plaintiff’s prima facie case of discrimination concerns

 Plaintiff’s termination, which Defendant does not contest was an adverse

 employment action. (See Doc. 50, p. 17.) But Defendant asserts that Plaintiff’s

 proffered comparator was not similarly situated, so her prima facie case fails.

 (Doc. 52, pp. 3–4.) Defendant also contends that even if Plaintiff could make out

 her prima facie case, she fails to establish that Defendant’s reason for terminating

 her was pretextual. (Doc. 50, pp. 18–19.) The Court addresses each argument.

                     1.     Prima Facie Case – Similarly Situated Comparator

       Plaintiff offers Mickael Holt as a comparator concerning her termination.


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 (Doc. 51, p. 10.) But Holt is not similarly situated to Plaintiff in all material respects.

        Holt experienced a back injury and was unable to work. (Doc. 52-2.) When

 Holt’s leave expired and he did not return, Defendant “medically dismissed” him

 “without prejudice” to being rehired. (Doc. 51-9.)

        Plaintiff asserts that Defendant treated Holt better than her because he was

 terminated without prejudice and invited to re-apply, but she was not. (Doc. 51,

 p. 10.) But Plaintiff fails to acknowledge that she and Holt are dissimilar in one key

 way: he was injured and unable to work, while she was not. (Compare Doc. 50-21,

 with Doc. 52-2.) While both Holt and Plaintiff were terminated when they failed to

 return to work after reaching the end of their leave, 6 Holt’s medical dismissal

 cannot be fairly compared to Plaintiff’s, as she had no medical reason for not

 returning. (Compare Doc. 51-9, with Doc. 51-10.)

        So the Court cannot fairly determine whether Plaintiff’s termination was

 discrimination as a result of her pregnancy because Plaintiff has not offered a truly

 similarly situated comparator—a male who was physically able to return to work




        6 Plaintiff also asserts that Holt was “granted leave well beyond the five months [Plaintiff]
 was provided.” (Doc. 51, p. 10.) Holt’s and Plaintiff’s leave requests were different in that Holt
 requested leave “not to exceed” twelve months, while Plaintiff requested leave for a full
 additional year beyond the several months she had already used—and the applicable policy
 prevents leave in excess of a year. (Compare Doc. 52-2, with Doc. 50-21.) But regardless, Plaintiff
 did not allege the denial of her leave request as an adverse employment action—only
 complaining of the termination. (See Doc. 36, ¶ 135.) So she cannot assert this new basis for her
 claim now. See Davis v. City of Lake City, No. 3:10-cv-1170, 2013 WL 12091324, at *11 (M.D. Fla.
 Mar. 15, 2013), aff’d, 553 F. App’x 881 (11th Cir. 2014).
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 but declined and nonetheless received more favorable termination terms. See

 Lewis, 918 F.3d at 1227–29. And the Court cannot conclude that Defendant

 discriminated against Plaintiff by denying her favorable termination terms when

 the evidence shows that Defendant actually did offer Plaintiff the option to resign

 so she could be rehired—and she declined. (Doc. 50-4, pp. 77:14–78:13.)

        Because Plaintiff has failed to meet her burden of demonstrating that a

 similarly situated comparator 7 was treated more favorably than her concerning

 her termination, she has not established her prima facie case of discrimination.

                       2.      Pretext

        Even if the Court were to accept Holt as a similarly situated comparator,

 Plaintiff’s claim would still fail at the pretext stage.

        Defendant articulated a legitimate, non-discriminatory reason for

 terminating Plaintiff—she did not show up to work when directed. (Doc. 50-24.)

 So the burden shifts back to Plaintiff to demonstrate that Defendant’s reason “is a

 mere pretext for unlawful discrimination and was not the true reason for the

 employment decision.” Davis v. City of Lake City, No. 3:10-cv-1170, 2013 WL

 12091324, at *4 (M.D. Fla. Mar. 15, 2013) (Howard, J.), aff’d, 553 F. App’x 881 (11th


        7 Plaintiff superficially asserts that she need not present evidence of a similarly situated
 comparator and may rely instead on a “convincing mosaic of circumstantial evidence” of
 discrimination to meet her burden. (Doc. 51, p. 8 (citing Smith v. Lockheed-Martin Corp., 644 F.3d
 1321, 1328 (11th Cir. 2011)).) But she offers no substantive argument or evidence to demonstrate
 a convincing mosaic—just falling back on comparators. (See Doc. 51, p. 10.) So Plaintiff has failed
 to meet her burden. See Burke-Fowler v. Orange Cnty., 447 F.3d 1319, 1325 (11th Cir. 2006).
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 Cir. 2014). This stage requires a “new level of specificity” from Plaintiff, and she

 must carry the “ultimate burden” of persuading the Court that Defendant

 intentionally discriminated against her. See id. at *4, *13.

       “If the proffered reason is one that might motivate a reasonable employer, a

 plaintiff cannot recast the reason but must meet it head on and rebut it.” Bojd v.

 Golder Assocs., Inc., 212 F. App’x 860, 862 (11th Cir. 2006) (cleaned up). “[T]he

 employee cannot succeed by simply quarreling with the wisdom of that reason.”

 Chapman v. AI Transp., 229 F.3d 1012, 1030 (11th Cir. 2000). So simply taking issue

 with the employer’s stated reason for the adverse action is not enough—the

 plaintiff must show “both that the [proffered] reason was false, and that

 discrimination was the real reason.” See St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502,

 515 (1993). “[T]he Court does not sit as a super-personnel department, and it is not

 the Court’s role to second-guess the wisdom of an employer’s business decisions—

 indeed the wisdom of them is irrelevant—as long as those decisions were not

 made with a discriminatory motive.” Davis, 2013 WL 12091324, at *13 (cleaned up).

       On a review of the record, the Court cannot conclude that Plaintiff has met

 her ultimate burden of demonstrating that her termination was an act of

 discrimination due to her pregnancy. In fact, numerous times throughout her

 pregnancy, Defendant tried to accommodate Plaintiff’s requests, even though she

 did not have documented restrictions justifying them. (See generally Doc. 50-1;


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 Doc. 50-4.) Notably, Plaintiff wanted to be treated the same as with her previous

 pregnancy in 2011 (see Doc. 50-4, pp. 30:23–31:4)—but she fails to acknowledge

 that the previous version of her collective bargaining agreement did not require

 her to bring in a light duty note to receive accommodations, while the agreement

 in effect in 2013 did. (Compare Doc. 50-7, p. 18, with Doc. 50-8, p. 3.) And the

 fact that Defendant had no issues with Plaintiff’s previous pregnancy

 undermines her assertion that Defendant’s actions were suddenly motivated

 by discriminatory animus against her during her second pregnancy, rather

 than a change in circumstances due to the new terms of the bargaining

 agreement. (See Doc. 50-4, p. 31:2–7.)

       Indeed, even after Plaintiff filed EEOC charges, Defendant still treated her

 fairly for the remaining months of her pregnancy; it did not interfere with her

 taking FMLA leave, allowed her to use donated sick leave, and granted her

 multiple months of discretionary leave. (Docs. 50-18 to -20.) When it became clear

 that she would not return, Defendant asked her to resign willingly so she could be

 eligible for rehire—indicating an intent to try to work with her in the future—but

 she refused. (Doc. 50-4, pp. 77:14–78:13.)

       Plaintiff attempts to fall back on her argument that Holt was treated better

 than her to show discrimination, but she does not rebut Defendant’s argument that

 she was terminated because she refused to show up to work. (See Doc. 51, p. 15.)


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 In fact, Plaintiff’s argument that Defendant discriminated against her by firing her

 when she did not show up is undercut by the fact that Holt was also terminated

 when he failed to show up (even though the terms of the termination were

 different because Plaintiff and Holt were differently situated). (See Doc. 51-9.)

       In sum, Plaintiff’s evidence does not lead to the conclusion that Defendant’s

 reason for terminating her (not showing up to work when directed) was false, and

 Defendant instead terminated her because of discrimination against her

 pregnancy. So Plaintiff has not carried her burden of establishing pretext. See Jolley

 v. Phillips Educ. Grp. of Cent. Fla., Inc., No. 95-147, 1996 WL 529202, at *5 (M.D. Fla.

 July 3, 1996) (Conway, J.) (finding that plaintiff had not shown pretext where her

 insubordination preceded her termination, and the evidence did not show that her

 conversation with her supervisor about pregnancy was related to her termination);

 Lewis v. Aaron’s Sales & Lease Ownership, Inc., No. 8:12-cv-1005, 2013 WL 5741780,

 at *9 (M.D. Fla. Oct. 22, 2013) (Whittemore, J.) (finding that plaintiff had not shown

 pretext where she merely recast her employer’s legitimate reason for firing her and

 relied on an insufficiently similar comparator, even where her employer made

 explicitly negative comments about her pregnancy); see also Davis, 2013 WL

 12091324, at *13–23.

       As Plaintiff has not established a prima facie case or pretext, Defendant’s

 Motion is due to be granted on Plaintiff’s pregnancy discrimination claim.


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       II.    Retaliation

       Next, Defendant argues that Plaintiff cannot establish a prima facie case of

 retaliation because she has not shown that her complaints about her shift

 assignment in May and her EEOC charges in June were the cause of her

 termination several months later in December. (Doc. 50, pp. 19–21.) The Court

 agrees.

       “A prima facie case of retaliation under Title VII requires the plaintiff to show

 that: (1) she engaged in an activity protected under Title VII; (2) she suffered an

 adverse employment action; and (3) there was a causal connection between the

 protected activity and the adverse employment action.” Crawford v. Carroll,

 529 F.3d 961, 970 (11th Cir. 2008). “Title VII retaliation claims must be proved

 according to traditional principles of but-for causation . . . . This requires proof that

 the unlawful retaliation would not have occurred in the absence of the alleged

 wrongful action or actions of the employer.” Univ. of Texas Sw. Med. Ctr. v. Nassar,

 570 U.S. 338, 360 (2013).

       A plaintiff satisfies this causation element if she can show “a close temporal

 proximity between [the defendant’s] awareness [of her protected activity] and the

 adverse action.” Higdon, 393 F.3d at 1220 (cleaned up). Mere temporal proximity

 in the absence of other evidence showing causation must be “very close” to be


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 sufficient. See id. (cleaned up). And a substantial delay—such as more than three

 months—between the protected activity and the adverse action, without more, is

 insufficient to meet the plaintiff’s burden. See id.

       Plaintiff asserts in her response brief, for the first time, that she engaged in

 additional protected activity by sending a letter to Defendant invoking her rights

 on December 5, 2013, the day before her termination, thus establishing temporal

 proximity. (Doc. 51, p. 10; see also Doc. 51-8.) But Plaintiff failed to mention the

 December 5 letter in any of the four iterations of her Complaint. (See Docs. 1, 6, 19,

 36.) And Defendant did not discuss the December 5 letter as a protected activity in

 its Motion, as Plaintiff had not pled it. (See Doc. 50, p. 9.) Because Plaintiff failed to

 allege this activity as a basis for her retaliation claim, she cannot raise it now. See

 Davis v. City of Lake City, 2013 WL 12091324, at *11 (rejecting new incidence of

 retaliation raised at summary judgment that was not alleged in the complaint); see

 also Williams v. Flagler Humane Soc’y, Inc., No. 3:12-cv-767, 2013 WL 12358254, at *8

 (M.D. Fla. Dec. 11, 2013); Gilmour v. Gates, McDonald & Co., 382 F.3d 1312, 1314–15

 (11th Cir. 2004).

       Without that letter as an established protected activity, there is no

 sufficiently close temporal proximity between her complaints and EEOC charges

 more than six months earlier and her termination. See Higdon, 393 F.3d at 1220; see

 also Clark Cnty. Sch. Dist. v. Breeden, 532 U.S. 268, 273 (2001). And Plaintiff does not


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 provide any evidence demonstrating a chain of retaliatory acts for the several

 months in between to otherwise establish causation. (See Doc. 51, p. 11.) Indeed,

 for months after her complaints, Plaintiff was given FMLA leave when she needed

 it and more than two months of discretionary leave when she asked for it. (Doc. 50-

 11, pp. 37–48; Docs. 50-18 to -20; Doc. 50-23.) So without temporal proximity or

 other evidence of retaliatory acts, Plaintiff has failed to raise a jury issue on

 causation. See Wascura v. City of S. Miami, 257 F.3d 1238, 1248 (11th Cir. 2001).

        But even if the Court were to consider Plaintiff’s December 5 letter as a

 protected activity, she still could not establish causation. Defendant already told

 Plaintiff on December 2 and December 4 that she must return to work on

 December 6 or be fired—but she did not return. (Docs. 50-22, 50-24; Doc. 51-1,

 ¶ 25.) Causation is not established when an employer contemplates termination

 before the employee engages in the protected activity. See Clark, 532 U.S. at 272. As

 Plaintiff’s letter came after Defendant told her she would be terminated if she did

 not return, the temporal proximity of the events alone does not establish causation.

        As Plaintiff has not demonstrated causation, the Court need not reach the

 remaining factors because Plaintiff has failed to establish her prima facie case of

 retaliation. 8 So Defendant’s Motion is due to be granted on this claim.




        8 Even if Plaintiff established her prima facie case, her retaliation claim would still fail at
 the pretext stage for the same reasons as the discrimination claim. See supra.
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        III.    ADA Interference

        Finally, Defendant argues that Plaintiff failed to establish her ADA

 interference claim because she was not disabled under the ADA. 9 (Doc. 50, p. 23.)

 Without setting forth any evidence of disability, Plaintiff counters she need not be

 disabled to assert this type of ADA claim. (Doc. 51, p. 16.)

        The ADA provides that it is “unlawful to coerce, intimidate, threaten, or

 interfere with any individual in the exercise of enjoyment of . . . any right granted

 or protected by this chapter.” 42 U.S.C. § 12203(b) (emphasis added). So a plaintiff

 must have existing rights under the ADA to bring an interference claim. See EEOC

 v. STME, LLC, 309 F. Supp. 3d 1207, 1216 (M.D. Fla. 2018), aff’d, 938 F.3d 1305

 (11th Cir. 2019).

        But pregnancy is not a disability under the ADA unless it substantially

 limits a major life activity, and as the Court has already ruled, Plaintiff has not

 sufficiently pled (nor has she subsequently proven) that she was disabled or

 otherwise entitled to the protection of the ADA. (See Doc. 43, pp. 7–9 (citing Jeudy,



        9  Defendant argues Plaintiff failed to exhaust her administrative remedies because her
 EEOC charge did not mention interference. (Doc. 50, pp. 21–23.) But “the scope of an EEOC
 complaint should not be strictly interpreted.” Gregory v. Ga. Dep’t of Hum. Res., 355 F.3d 1277, 1280
 (11th Cir. 2004) (cleaned up). Plaintiff’s EEOC charge asserts she was denied a reasonable
 accommodation under the ADA, specifically referencing the facts on which she bases her
 interference claim. (Compare Doc. 36, ¶ 162, with Doc. 51-12.) So the claim is sufficiently “like or
 related to” the allegations in the charge to fulfill this requirement. See Gregory, 355 F.3d at 1280.
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 482 F. App’x at 520; Selkow v. 7-Eleven, Inc., No. 8:11-cv-456, 2012 WL 2054872, at

 *14 (M.D. Fla. June 7, 2012)) (dismissing other ADA claims).) 10 Without providing

 any evidence of a disability (see Doc. 51, p. 16), Plaintiff has not established she

 had any rights under the ADA to enforce and cannot prevail on her interference

 claim. See STME, 309 F. Supp. 3d at 1216. So Defendant’s Motion is due to be

 granted as to this claim.

                                      CONCLUSION

        Accordingly, it is ORDERED AND ADJUDGED:

        1.     Defendant’s Motion (Doc. 50) is GRANTED.

        2.     The Clerk is DIRECTED to enter judgment in favor of Defendant and

               against Plaintiff on Counts I, II, and V of the Third Amended

               Complaint. (Doc. 36, ¶¶ 132–48, 168–73.) Plaintiff shall take nothing

               on her claims.

        3.     Once judgment is entered, the Clerk is DIRECTED to terminate all

               pending motions, cancel all upcoming hearings, and close the file.

        DONE AND ORDERED in Chambers in Orlando, Florida, on July 2, 2021.




        10 Though Defendant moved to dismiss all three ADA claims (Counts III–V) in the
 Second Amended Complaint, which the Court granted without prejudice, Defendant only moved
 to dismiss Counts III and IV in the operative Third Amended Complaint, which the Court granted
 with prejudice—leaving Count V untouched until now. (Docs. 21, 33, 38, 43.)
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